        Case 1:18-mc-00078-ALC Document 1-1 Filed 03/01/18 Page 1 of 15



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re Application of Anatolie Stati, Gabriel Stati,
Ascom Group, S.A., and Terra Raf Trans Traiding
Ltd. for an Order Directing Discovery from Amundi
Investments USA Pursuant to 28 U.S.C. § 1782                               1:18-mc-78
                                                                Case No. ____________




                  [PROPOSED] ORDER GRANTING APPLICATION FOR
                 JUDICIAL ASSISTANCE PURSUANT TO 28 U.S.C. § 1782

       THIS CAUSE came before the Court upon the Application of Anatoli Stati, Gabriel Stati,

Ascom Group, S.A., and Terra Raf Trans Traiding Ltd. (together, “Petitioners”) for judicial

assistance pursuant to 28 U.S.C. § 1782 (the “1782 Application”). The Court, having considered

the § 1782 Application, the supporting materials, and otherwise being fully advised in the

premises, finds as follows:

       (1)     Petitioners have met the requirements under 28 U.S.C. § 1782 for granting the

       requested judicial assistance and relief.

       (2)     For purposes of the instant 1782 Application, the following financial institutions,

       persons, and/or corporate entities reside or are found in the Southern District of New

       York: Amundi Investments USA (“Amundi”).

       (3)     The documentary and other discovery sought through this 1782 Application is for

       use in proceedings before a foreign tribunal.

       (4)     The Petitioners are interested persons within the meaning of the statute, in their

       capacity as litigants.

       Accordingly, it is hereby ORDERED and ADJUDGED as follows:

       (1) The 1782 Application is GRANTED.

                                                   1
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(2) Any discovery taken pursuant to this Order shall be governed by the Federal Rules of

   Civil Procedure.

(3) The Petitioners’ request for leave to conduct discovery and to serve subpoenas in

   substantially similar form as the form attached hereto as Appendix 1 is GRANTED.


(4) The Petitioners are further authorized to issue and serve additional follow-up

   subpoenas on Amundi as may be necessary to obtain the documentary evidence for

   use in the foreign proceeding, as described in the 1782 Application.


(5) Nothing in this Order shall be construed to prevent or otherwise foreclose Petitioners

   from seeking modification of this Order or leave of Court to serve any additional

   subpoena on any person or entity.


IT IS SO ORDERED, this ____th day of __________, 2018.


                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE




                                         2
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               Appendix A
                      Case 1:18-mc-00078-ALC Document 1-1 Filed 03/01/18 Page 4 of 15
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                          Southern District
                                                        __________  DistrictofofNew York
                                                                                 __________

                                                                         )
In re Application of Anatolie Stati,                                     )                                            1:18-mc-78
Gabriel Stati, Ascom Group, S.A., and                                    )             Civil Action No.
Terra Raf Trans Traiding Ltd. for an                                     )
Order Directing Discovery from                                           )
Amundi Investments USA Pursuant to                                       )
28 U.S.C. § 1782

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

  To:                                               Amundi Investments USA

                                                        (Name of person to whom this subpoena is directed)
        ✔
        ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material:See Attachment A



   Place: King & Spalding LLP                                                            Date and Time:
            1185 Avenue of the Americas
            New York, NY 10036

      ❒ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

   Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.
 Date:

                                    CLERK OF COURT
                                                                                             OR

                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Anatolie Stati,
 Gabriel Stati, Ascom Group, S.A., Terra Raf Trans Traiding Ltd.        , who issues or requests this subpoena, are:
 James E. Berger, King & Spalding LLP, 1185 Avenue of the Americas, New York, NY 10036, (212) 556-2202

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                     Case 1:18-mc-00078-ALC Document 1-1 Filed 03/01/18 Page 5 of 15
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2 )

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ❒ I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                   ; or

            ❒ I returned the subpoena unexecuted because:
                                                                                                                                                        .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                      .

My fees are $                                      for travel and $                              for services, for a total of $                0.00 .



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                     Server’s address

Additional information regarding attempted service, etc.:
                      Case 1:18-mc-00078-ALC Document 1-1 Filed 03/01/18 Page 6 of 15
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3 )

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                       ATTACHMENT A

                                           Definitions

Whenever used herein, the following terms shall have the following meanings:

   1. “Asset” means any tangible or intangible item of economic value located anywhere in the
      world in any form, including without limitation, and whether prepaid or deferred, any
      cash, income, securities, bank accounts, accounts receivable, gifts, trademarks, patents,
      copyrights, goodwill, personal property, or any interest in any real property, including in
      any leasehold, or any ownership, membership, credit or other interest in, whether direct
      or indirect or legal or equitable, or any power, control or discretion otherwise with
      respect to the disposition of, any asset of any person.

   2. “Debt” means any money or other item of economic value owed to another person or
      entity including but not limited to accounts receivable, accounts payable, arrears, bills,
      checks, claims, credits, commercial paper, commitments, debentures, debits, dues, duties,
      encumbrances, executory contracts, guarantees, invoices, IOUs, liabilities, lines of credit,
      loans, mortgages, obligations, promissory and other notes, responsibilities, securities,
      suretyships, or vouchers.

   3. “EU” means the European Union.

   4. “National Bank” means the National Bank of the Republic of Kazakhstan.

   5. “National Fund” means the National Fund of Kazakhstan, also known as the “National
      Fund for the Future of Kazakhstan” or the “National Oil Fund.”

   6. “NIC” means the National Investment Corporation of the National Bank of Kazakhstan,
      a joint-stock company wholly-owned by the National Bank.

   7. “ROK” means the Republic of Kazakhstan, including all of its constituent agencies,
      organs, ministries, offices, political subdivisions, instrumentalities (including but not
      limited to Samruk Kazyna and the National Bank), alter-egos, agents, employees,
      officers, representatives, and all other Persons acting or purporting to act for or on the
      Republic of Kazakhstan’s behalf, whether or not authorized to do so.

   8. “Amundi” means Amundi Investments USA, its subsidiaries, affiliates, branches, offices,
      employees, officers, agents, and/or any person authorized or purporting to act on its
      behalf.

                                           Instructions

   1. Unless otherwise noted, these areas of designation and inquiry cover the period from
      January 1, 2012 through the date and time that the deposition record is closed.

   2. Each request for documents extends to all documents in your possession, custody, or
      control, whether held by you or your past or present attorneys or agents and regardless of
    Case 1:18-mc-00078-ALC Document 1-1 Filed 03/01/18 Page 8 of 15



   the location of the document(s). You are required to produce documents that you have a
   legal right to obtain, documents that you have right to copy or have access to, and
   documents that you have placed in temporary possession, custody or control of a third
   party.

3. These requests call for production of each requested document in its entirety, including
   all attachments presently or previously appended to each document, including, without
   limitation, working papers, routing slips, handwritten notes and similar materials (with or
   without notes or changes therein).

4. The word “including” shall be construed without limitation wherever used herein.

5. The past tenses of a verb used herein shall include the present tense, and the present tense
   shall include the past tense.

                                   Document Requests

1. All documents and communications evidencing or concerning Amundi’s management
   role with respect to the National Fund.

2. All documents evidencing or concerning any and all accounts maintained by Amundi at
   any office or branch that is subject to the territorial jurisdiction of the Courts of the
   United Kingdom and/or any other EU nation in the name, or on behalf, of the National
   Bank, including but not limited to accounts held by the National Bank in its capacity as
   manager of National Fund assets.

3. All documents evidencing or concerning any and all accounts maintained by Amundi at
   any office or branch that is subject to the territorial jurisdiction of the Courts of the
   United Kingdom and/or any other EU nation in the name, or on behalf, of NIC, including
   but not limited to accounts held by NIC for purposes of the management of the assets of
   the National Fund.

4. All documents and communications concerning or related to any asset of the ROK that is
   subject to the territorial jurisdiction of the Courts of the United Kingdom and/or any other
   EU nation, whether that asset is owned by the ROK directly, or indirectly, in whole or in
   part, as sole owner or jointly with others, either of record or beneficially.

5. All documents and communications concerning or related to any debt owed to the ROK
   by any person or entity that is subject to the territorial jurisdiction of the Courts of the
   United Kingdom and/or any other EU nation.

6. All documents and communications concerning or related to any debt owed to the
   National Bank, in its capacity as fiduciary manager or trustee of the National Fund, by
   any person or entity that is subject to the territorial jurisdiction of the Courts of the
   United Kingdom and/or any other EU nation.
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7. All documents and communications concerning or related to any debt owed to NIC, in its
   capacity as manager of the assets of the National Fund, by any person or entity that is
   subject to the territorial jurisdiction of the Courts of the United Kingdom and/or any other
   EU nation.

8. All documents and communications concerning or related to any debt owed by the ROK
   to any person or entity that is subject to the territorial jurisdiction of the Courts of the
   United Kingdom and/or any other EU nation.

9. All documents evidencing or concerning or evidencing any and all CHIPS, Fedwire, or
   SWIFT messages received or transmitted by one of Amundi’s offices or branches that is
   subject to the territorial jurisdiction of the Courts of the United Kingdom and/or any other
   EU nation relating to transactions identifying the ROK as the beneficiary, originator, or
   any other related party to a transaction.

10. All documents evidencing or concerning or evidencing any and all CHIPS, Fedwire, or
    SWIFT messages received or transmitted by one of Amundi’s offices or branches that is
    subject to the territorial jurisdiction of the Courts of the United Kingdom and/or any other
    EU nation relating to transactions identifying the National Bank (in its capacity as
    fiduciary manager or trustee of the National Fund) as the beneficiary, originator, or any
    other related party to a transaction.

11. All documents evidencing or concerning or evidencing any and all CHIPS, Fedwire, or
    SWIFT messages received or transmitted by one of Amundi’s offices or branches that is
    subject to the territorial jurisdiction of the Courts of the United Kingdom and/or any other
    EU nation relating to transactions identifying NIC (in its capacity as manager of the
    assets of the National Fund) as the beneficiary, originator, or any other related party to a
    transaction.

12. All documents evidencing or concerning or related to any collateral or security provided
    in connection with the formation of any debt owed by the ROK to any person or entity
    that is subject to the territorial jurisdiction of the Courts of the United Kingdom and/or
    any other EU nation.

13. All documents and communications concerning or related to any collateral or security
    provided in connection with the formation of any debt owed by the National Bank (in its
    capacity as fiduciary manager or trustee of the National Fund) to any person or entity that
    is subject to the territorial jurisdiction of the Courts of the United Kingdom and/or any
    other EU nation.

14. All documents and communications concerning or related to any collateral or security
    provided in connection with the formation of any debt owed by NIC (in its capacity as
    manager of the assets of the National Fund) to any person or entity that is subject to the
    territorial jurisdiction of the Courts of the United Kingdom and/or any other EU nation.
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  AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                              for the
                                                           Southern District
                                                         __________  DistrictofofNew York
                                                                                  __________

                                                                         )
In re Application of Anatolie Stati, Gabriel                             )
Stati, Ascom Group, S.A., and Terra Raf
                                                                         )              Civil Action No. 1:18-mc-78
Trans Traiding Ltd. for an Order Directing
                                                                         )
Discovery from Amundi Investments USA
                                                                         )
Pursuant to 28 U.S.C. § 1782
                                                                         )


                               SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

  To:                                                 Amundi Investments USA

                                                         (Name of person to whom this subpoena is directed)
        ✔
        ’ Testimony:    YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
  deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
  or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
  those set forth in an attachment:
 See Attachment A


   Place: King & Spalding LLP                                                             Date and Time:
             1185 Avenue of the Americas
             New York, NY 10036

            The deposition will be recorded by this method:

        ❒ Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




         The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
  Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
  respond to this subpoena and the potential consequences of not doing so.

  Date:
                                    CLERK OF COURT
                                                                                            OR

                                             Signature of Clerk or Deputy Clerk                               Attorney’s signature

  The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Anatolie Stati,
  Gabriel Stati, Ascom Group, S.A., Terra Raf Trans Traiding Ltd.         , who issues or requests this subpoena, are:
 James E. Berger, King & Spalding LLP, 1185 Avenue of the Americas, New York, NY 10036, (212) 556-2202

                                  Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things before
  trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
  whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2
)
Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ❒ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                    on (date)                     ; or

          ❒ I returned the subpoena unexecuted because:
                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                      for services, for a total of $   0.00 .



          I declare under penalty of perjury that this information is true.


Date:
                                                                                           Server’s signature



                                                                                         Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc.:
                     Case 1:18-mc-00078-ALC Document 1-1 Filed 03/01/18 Page 12 of 15
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3
)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                  or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or              study that was not requested by a party.
regularly transacts business in person; or                                           (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                       modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                     conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                          otherwise met without undue hardship; and
                                                                                       (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or             (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                  information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the              If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                              (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated      requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.       (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for           (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,      under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                        material must:
     (i) At any time, on notice to the commanded person, the serving party             (i) expressly make the claim; and
may move the court for the district where compliance is required for an                (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                        tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the       privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from       (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                    subpoena is subject to a claim of privilege or of protection as
                                                                                  trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                            that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where           information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                      until the claim is resolved; must take reasonable steps to retrieve the
                                                                                  information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
                                                                                  subpoena or an order related to it.



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                       ATTACHMENT A

                                           Definitions

Whenever used herein, the following terms shall have the following meanings:

   1. “Asset” means any tangible or intangible item of economic value located anywhere in the
      world in any form, including without limitation, and whether prepaid or deferred, any
      cash, income, securities, bank accounts, accounts receivable, gifts, trademarks, patents,
      copyrights, goodwill, personal property, or any interest in any real property, including in
      any leasehold, or any ownership, membership, credit or other interest in, whether direct
      or indirect or legal or equitable, or any power, control or discretion otherwise with
      respect to the disposition of, any asset of any person.

   2. “Debt” means any money or other item of economic value owed to another person or
      entity including but not limited to accounts receivable, accounts payable, arrears, bills,
      checks, claims, credits, commercial paper, commitments, debentures, debits, dues, duties,
      encumbrances, executory contracts, guarantees, invoices, IOUs, liabilities, lines of credit,
      loans, mortgages, obligations, promissory and other notes, responsibilities, securities,
      suretyships, or vouchers.

   3. “EU” means the European Union.

   4. “National Bank” means the National Bank of the Republic of Kazakhstan.

   5. “National Fund” means the National Fund of Kazakhstan, also known as the “National
      Fund for the Future of Kazakhstan” or the “National Oil Fund.”

   6. “NIC” means the National Investment Corporation of the National Bank of Kazakhstan,
      a joint-stock company wholly-owned by the National Bank.

   7. “ROK” means the Republic of Kazakhstan, including all of its constituent agencies,
      organs, ministries, offices, political subdivisions, instrumentalities (including but not
      limited to Samruk Kazyna and the National Bank), alter-egos, agents, employees,
      officers, representatives, and all other Persons acting or purporting to act for or on the
      Republic of Kazakhstan’s behalf, whether or not authorized to do so.

   8. “Amundi” means Amundi Investments USA, its subsidiaries, affiliates, branches, offices,
      employees, officers, agents, and/or any person authorized or purporting to act on its
      behalf.

                                           Instructions

   1. Unless otherwise noted, these areas of designation and inquiry cover the period from
      January 1, 2012 through the date and time that the deposition record is closed.

   2. The word “including” shall be construed without limitation wherever used herein.
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3. The past tenses of a verb used herein shall include the present tense, and the present tense
   shall include the past tense.

                           Areas of Designation and Inquiry

1. Information concerning Amundi’s management role with respect to the National Fund
   and/or any assets of the National Fund.

2. Information concerning any and all accounts maintained by Amundi at any office or
   branch that is subject to the territorial jurisdiction of the Courts of the United Kingdom
   and/or any other EU nation in the name, or on behalf, of the National Bank, including but
   not limited to accounts held by the National Bank in its capacity as manager of National
   Fund assets.

3. Information concerning any and all accounts maintained by Amundi at any office or
   branch that is subject to the territorial jurisdiction of the Courts of the United Kingdom
   and/or any other EU nation in the name, or on behalf, of NIC, including but not limited to
   accounts held by NIC for purposes of the management of the assets of the National Fund.

4. Information concerning or related to any asset of the ROK that is subject to the territorial
   jurisdiction of the Courts of the United Kingdom and/or any other EU nation, whether
   that asset is owned by the ROK directly, or indirectly, in whole or in part, as sole owner
   or jointly with others, either of record or beneficially.

5. Information concerning or related to any debt owed to the ROK by any person or entity
   that is subject to the territorial jurisdiction of the Courts of the United Kingdom and/or
   any other EU nation.

6. Information concerning or related to any debt owed to the National Bank, in its capacity
   as fiduciary manager or trustee of the National Fund, by any person or entity that is
   subject to the territorial jurisdiction of the Courts of the United Kingdom and/or any other
   EU nation.

7. Information concerning or related to any debt owed to NIC, in its capacity as manager of
   the assets of the National Fund, by any person or entity that is subject to the territorial
   jurisdiction of the Courts of the United Kingdom and/or any other EU nation.

8. Information concerning or related to any debt owed by the ROK to any person or entity
   that is subject to the territorial jurisdiction of the Courts of the United Kingdom and/or
   any other EU nation.

9. Information concerning or evidencing any and all CHIPS, Fedwire, or SWIFT messages
   received or transmitted by one of Amundi’s offices or branches that is subject to the
   territorial jurisdiction of the Courts of the United Kingdom and/or any other EU nation
   relating to transactions identifying the ROK as the beneficiary, originator, or any other
   related party to a transaction.
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10. Information concerning or evidencing any and all CHIPS, Fedwire, or SWIFT messages
    received or transmitted by one of Amundi’s offices or branches that is subject to the
    territorial jurisdiction of the Courts of the United Kingdom and/or any other EU nation
    relating to transactions identifying the National Bank (in its capacity as fiduciary
    manager or trustee of the National Fund) as the beneficiary, originator, or any other
    related party to a transaction.

11. Information concerning or evidencing any and all CHIPS, Fedwire, or SWIFT messages
    received or transmitted by one of Amundi’s offices or branches that is subject to the
    territorial jurisdiction of the Courts of the United Kingdom and/or any other EU nation
    relating to transactions identifying NIC (in its capacity as manager of the assets of the
    National Fund) as the beneficiary, originator, or any other related party to a transaction.

12. Information concerning or related to any collateral or security provided in connection
    with the formation of any debt owed by the ROK to any person or entity that is subject to
    the territorial jurisdiction of the Courts of the United Kingdom and/or any other EU
    nation.

13. Information concerning or related to any collateral or security provided in connection
    with the formation of any debt owed by the National Bank (in its capacity as fiduciary
    manager or trustee of the National Fund) to any person or entity that is subject to the
    territorial jurisdiction of the Courts of the United Kingdom and/or any other EU nation.

14. Information concerning or related to any collateral or security provided in connection
    with the formation of any debt owed by NIC (in its capacity as manager of the assets of
    the National Fund) to any person or entity that is subject to the territorial jurisdiction of
    the Courts of the United Kingdom and/or any other EU nation.

15. Information concerning or related to any direct or indirect communications, whether
    written, electronic, or oral, between Amundi and any representative or agent of the ROK.
